                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                         CIVIL ACTION NO: 5:20-CV-00523-FL


 ____________________________________
                                           )
 JANE DOE,                                 )
 by her next friend,                       )
 TONISHA PULLEN-SMITH                      )
                 Plaintiff,                )
                                           )
 v.                                        )
                                           )
 CUMBERLAND COUNTY BOARD OF )                        PROPOSED ORDER
 EDUCATION                                 )
 (Cumberland County Schools),              )
 CHRISTIAN QUALLY, individually and )
 as an agent of Cumberland County Schools, )
 and, CLARENCE SCOFIELD, individually )
 and as an agent of Cumberland County      )
 Schools.                                  )
                                           )
                 Defendants.               )
                                           )


        Upon consideration of Plaintiff s Motion to For Leave to Proceed Under a Pseudonym and
 finding good cause supporting the same, it is hereby ORDERED that the Motion is GRANTED.


Dated: October
 This the      21, 2020
          ____ day of                      , 2020.
                                         ______________________________________
                                         Robert T. Numbers, II
                                         United
                                    United StatesStates Magistrate
                                                  District Judge Judge
                                    United States District Court for the
                                    Eastern District of North Carolina – Western Division




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